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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                          JAN 2 5 2019
                                     Richmond Division
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                           RICHMONn           '
 UNITED STATES OF AMERICA


 V.                                                                     Criminal No. 3:04CR100


 ADOLPHUS BLACK,

         Petitioner.

                                    MEMORANDUM OPINION


         Petitioner, proceeding by counsel, filed this successive 28 U.S.C. § 2255 Motion

 ("§ 2255 Motion," ECF No. 125) challenging his enhanced sentence under the Armed Career

 Criminal Act ("ACCA") pursuant to Johnson v. United States, 135 S. Ct. 2551 (2015). The

 Govemment maintains that Petitioner still qualifies for an enhanced sentence under ACCA, and

 in the altemative, argues that, to the extent an error exists, that error is harmless because

 Petitioner "remains subject to a concurrent 360-month sentence under the Career Offender

 Guidelines § 431.1." (Further Response 3, ECF No. 143 (citation omitted).) As discussed

 below. Petitioner remains subject to an ACCA sentence for Count Two, and thus lacks

 entitlement to relief.


                                     I. Johnson v. United Slates


         In Johnson v. United States, the Supreme Court described the impact of the ACCA on

 federal gun laws and noted that:

                 Federal law forbids certain people—such as convicted felons, persons
         committed to mental institutions, and drug users—^to ship, possess, and receive
         firearms. § 922(g). In general, the law punishes violation[s] of this ban by up to
         10 years' imprisonment. § 924(a)(2). But if the violator has three or more earlier
         convictions for a "serious drug offense" or a "violent felony," the [ACCA]
         increases his prison term to a minimum of 15 years and a maximum of life.
         § 924(e)(1).

 135 S. Ct. 2551, 2555 (2015) (citations omitted).
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